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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7       PAUL SOMERS,                                      Case No. 14-cv-05180-EMC (KAW)
                                   8                    Plaintiff,
                                                                                             ORDER DENYING PLAINTIFF'S
                                   9             v.                                          MOTION TO CONTINUE HEARING
                                                                                             ON MOTION FOR SANCTIONS;
                                  10       DIGITAL REALTY TRUST INC, et al.,                 ORDER TO SHOW CAUSE
                                  11                    Defendants.                          Re: Dkt. No. 313
                                  12
Northern District of California
 United States District Court




                                  13            Pending before the Court are Defendants' motion for sanctions and Plaintiff's motion for
                                  14   recusal. (Dkt. Nos. 271, 288.) The motions were originally set for hearing on April 19, 2018. On
                                  15   April 18, 2018, Plaintiff Paul Somers filed a letter seeking a second extension of time1 to file his
                                  16   reply in support of his motion for recusal, and asking that future hearings be put on hold. (Dkt.
                                  17   No. 306 at 1.) That same day, the Court denied the request for an extension of time, and stated
                                  18   that the April 19, 2018 hearing would go forward. (Dkt. No. 307 at 2.)
                                  19            On April 19, 2018, at 12:58 p.m., approximately half an hour before the scheduled hearing,
                                  20   Plaintiff e-mailed the Court stating that he had fallen ill the prior day and was "now being
                                  21   admitted to [the] hospital," and that "[t]he hearing for later this afternoon will have to be
                                  22   continued." (Dkt. No. 308.) The Court then deemed the motion for recusal suitable for
                                  23   disposition without hearing pursuant to Civil Local Rule 7-1(b), and vacated the April 19, 2018
                                  24   hearing on that matter. (Dkt. No. 309 at 1.) With respect to Defendants' motion for sanctions, the
                                  25   Court permitted Plaintiff to file a request to continue the hearing by April 26, 2018, but stated that
                                  26   "[t]he request must be accompanied by a declaration under penalty of perjury, and include
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                                  28     The Court previously granted Plaintiff a one-week extension to file his reply brief due to
                                       technological difficulties. (Dkt. No. 303; see also Dkt. No. 300 at 1.)
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                                   1   extrinsic proof of Plaintiff's illness and subsequent hospitalization, i.e., a hospital receipt or similar

                                   2   record." (Id.) Unfortunately, defense counsel was already on his way to the hearing and did not

                                   3   see the court's order issued less than ten minutes before the hearing was to begin. (Ashe Decl. ¶ 9,

                                   4   Dkt. No. 314-1.) When defense counsel appeared for the hearing, the Court informed him that

                                   5   Plaintiff would not be appearing due to an alleged illness.

                                   6           On April 26, 2018, Plaintiff filed a proposed order for a continuance of the hearing on

                                   7   Defendants' motion for sanctions. (Dkt. No. 313.) Plaintiff did not include a declaration or

                                   8   extrinsic proof of his illness and subsequent hospitalization, as required by the Court's April 19,

                                   9   2018 order. (Id.; see also Dkt. No. 309 at 1.) On April 27, 2018, Defendants filed an opposition

                                  10   to Plaintiff's request for a continuance. (Dkt. No. 314.)

                                  11           Plaintiff has failed to comply with the Court's order to provide proof of his illness and

                                  12   subsequent hospitalization, which was ostensibly the reason for Plaintiff's failure to appear at the
Northern District of California
 United States District Court




                                  13   April 19, 2018 hearing. Accordingly, the Court DENIES Plaintiff's motion to continue the hearing

                                  14   on Defendants' motion for sanctions. The Court deems Defendants' motion for sanctions suitable

                                  15   for disposition without hearing pursuant to Civil Local Rule 7-1(b), and will decide Defendants'

                                  16   motion on the papers.

                                  17           Additionally, Defendants incurred $5,625 preparing for and attending the April 19, 2018

                                  18   hearing. (Ashe Decl. ¶ 7.) As Defendants correctly point out, those attorney's fees would not have

                                  19   been incurred if Plaintiff had timely informed Defendants and the Court of his illness the prior

                                  20   day, instead of waiting until half an hour before the hearing to state that he could not attend.

                                  21   Moreover, Plaintiff has failed to substantiate his claim of illness and hospitalization, despite the

                                  22   Court's requirement that he do so if moving for a continuance of the hearing. Therefore, Plaintiff

                                  23   is ordered to show cause, by May 11, 2018, why Plaintiff should not be required to pay

                                  24   Defendants' attorney's fees incurred for preparing for and attending the April 19, 2018 hearing.

                                  25           IT IS SO ORDERED.

                                  26   Dated: April 27, 2018
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                                  27                                                           KANDIS A. WESTMORE
                                  28                                                           United States Magistrate Judge

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